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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF VIRGINIA
NEWPORT NEWS DIVISION

UNITED STATES OF AMERICA CASE NO 4:20-CR-00017
VS

CARL LINWOOD BURDEN, dba artificial entity
Affiant/Defendant

By; lord karl el bey; family of burden — A Living Soul, as Sui Juris

NOTICE TO ALL
AFFIDAVIT OF TRUTH and REPUDIATION

Be it known to all who called themselves “government, “their” courts,” agents, and other
parties, i.e., debt collectors, that I, a living soul, ...am a free born sovereign individual, without
subjects. I, am neither subject to any entity anywhere, nor is any entity subject to me. |,
neither dominate anyone, nor am I, dominated. I, choose to be left alone to live out my days in

peace on the “Land” and under the jurisdiction of God

Pe am not a “person” as defined in “Rules” “Codes” and “statues” when such definition includes

any such “artificial entities.” |, refuse to be treated as a “federally” or “state” created fictional
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entity which is only capable of exercising certain limited rights, privileges, or immunities as
specifically, “ granted” by “federal”, or “state”, “county” or “city or any other “government” of
any kind.

1, live my life by the laws of God and as such “I, love my neighbor” and “I, do no harm”.

|, may voluntarily by my own desire, choose to comply with the “laws” which others attempt to
impose upon me, but no such “laws,” derived by man and at the whims of politicians, nor their
“enforcers,” have any authority over me. |, am not in any “jurisdiction,” but my own, for | am

not of either :subject” nor “citizen” status.

Unless ! have, willfully harmed or violated someone or someone’s property without their
consent, | have not committed any crime, and am therefore not subject to any penalty.
Where there is No victim, there is No crime. An entity is not even a victim, nor is it possible

for it to be a victim, as there is no life blood nor a living soul.

Thus, be it known to all, that |, reserve my natural right not-be compelled to perform under any
“contract” that | did not enter into knowingly, voluntarily, and intentionally.
Furthermore, | do not, accept the “liability” associated with the compelled debt and/or

pretended “benefit” of any hidden or unrevealed “contract” or “commercial agreement”

As such, the hidden or unrevealed “ contracts” that supposedly create “obligations” to perform,
for persons of subject status, are inapplicable to me, and are null and void. If | have,
participated in any of the supposed :debts” or “benefits” associated with these hidden
“contract,” | have done so under duress, and as a victim of fraud, for lack of any other practical
alternative. Having just recently learned of the fraud created upon my birth by the acts of the
UNITED STATES Government.
| may, have received such “benefits” but | have not, accepted them in any manner that binds

me to anything.
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Any such participation does not constitute “acceptance,” because of the absence of full

disclosure of any valid offer, and voluntary consent without misrepresentation or coercion.

Without a valid voluntary offer and acceptance, knowingly entered into by both parties,

With complete and full disclosure and that may have been made under the duress of pain or
injury or sickness there is no “meeting of the minds or of the souls,” and therefore there is no
valid contract. Any supposed “contract” is therefore void from the beginning. And, is Fraud.

As is any perceived debts acquired there from.

From my age of consent 18, to the date affixed below | have never signed a contract knowingly,
willingly, intelligently, voluntarily, and intentionally whereby | have waived any of my natural
inherent rights. Furthermore, take notice, that | revoke, cancel, and make void from the
beginning my signature on any and all “contracts,” “agreements,” “forms,” or any “instrument”
which may be construed in any way to give any agency or department of any “government”
any “authority,” “venue,” or “jurisdiction” over me.
Typical examples of such compelled and pretended “benefits” are.
1. “Birth Certificate”: No issuance of (a) Birth Certificate or berth registration printed upon

any “bond paper,” Whether federally by the UNITRD STATES or by the “State/STATES of

Virginia and or ANY and ALL other states” or any agency or subsidiary thereof having taken
place prior

to and before the age of my maturity shall thus constitute a contract. Having given n
o consent or meeting of “the mind and soul” under full and honest disclosure of the
meaning of said contract, and any use thereof for investment or insurance purposes

constitutes fraud, and trespass upon myself. This is constructive fraud, Unlawful Conversion,
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barratry, press ganging, Peonage, and other felonies.
And neither shall (b) the “SSI” # or Subservient Slave Identity number as stated above...

Having also such taken place prior to age of maturity.

2. The use of a national fiat currency to discharge my debts: | have used these only
because there is no other widely recognized currency. The removal of such legal money
and the institution of Tender that never has the ability to discharge a debt, but to
tender it to a future date is both a travesty and an immoral act of government.

3. The use of a bank account: If there is any hidden “contract” behind an account, my

signature therewith gives no validity to it. The signature is only for verification of

identity.

| cannot be obligated to fulfill any hidden or unrevealed “contract” whatsoever, due to
the absence of full disclosure and voluntary consent.
Likewise, my use of the bank account is due to the absence of an alternative. To not use
any bank at all is very difficult and impractical. | shall no longer sign/signature anything,
if my name is put forth by me on paper it shall be as my Autograph only, without
prejudice and without recourse under UCC 1-308

4. The use a “driver's license” The Right to TRAVEL by private conveyance for private
purpose upon the Common way can NOT BE INFRINGED. No license or permission is
required for TRAVEL when such TRAVEL IS NOT for the purpose of [COMMERCIAL]

PROFIT or GAIN open highways operating under license IN COMMERCE. However, If |
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am stopped for any reason and found to be without a “license:’ it is likely | would be
unduly harassed and penalized. Therefore, under duress, | make carry a “license” only
to avoid extreme inconvenience.

5. “State plates” on my private automobilities: Similarly, if | have “registered” any private
automobilities with the “state” and carry the “state plates” on them, | have done so
only because to have any other “plates” or no “plates” at all, causes me to run the risk
of “police officer” harassment and threat of violence against my peaceful self and
extreme inconvenience of self-having to train those that should already know, who
“just are doing their job” and not thinking for themselves, however | do reserve my

right to display private tags on my private property.

6. The use of a “passport”: There is no real need for me to have a “passport” (or other
associated “permits,” “visas, etc.) to travel. | have the right to travel without hindrance,
whenever , however, and whenever | wish, so long as | do not encroach upon the

private property of others. Though without a “passport,” my right to travel is unduly

hindered.

Therefore, under duress, | only use a “passport” to prevent extreme inconvenience and
to ensure that | can travel from one country to another at all. However, | do reserve my

right to apply and obtain a “passport” as a state citizen for identity purpose as well

7. Pass “filing” of “tax returns”: Because such “tax returns” were “filed” under threat,

duress, and coercion, and no two-way contract was ever signed with full disclosure, there is
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nothing in any past “filings” of “tax returns” or payments that created any valid contract.

Therefore, no obligations on my part was ever created.

8. Pass “enrollment” and “voting”: Similarly, since no obligation to perform in any manner
was ever revealed in print, as part of the “requirements” for the “supposed” privilege to
“enroll” and to “vote,” any such “enrollment” or “voting” does not obligate me to do
anything, nor grant any “jurisdiction” over me to anyone.

9.

“Citizenship”: Any documents | may have ever signed, in which | answered “yes” to the
Question, “Are you a United States citizen?” - cannot be used to compromise my

status as a sovereign, nor obligate me to perform in any matter. This is because

without full written disclosure of the definition and consequences of such supposed

“citizenship,” provided in the document bearing my signature given freely without

misrepresentation or coercion, there can be no binding contract.

| was brain washed through government Procter gamble in a Government-controlled

school system that under threat of force | was made to attend. Being a US Citizen

was taught as if it was a privilege and patriotism through a pledge of allegiance daily
was perverted to that end. This was gross fraud, Press ganging, unlawful conversion, on
a grandee’s scale therefore having recently learned of this fraud, |, Declare that; | am
not a “United States citizen.” | am not a “resident of,” an “inhabited of,” a “franchise

of,” a “subject of,” a “ward of,” the “property of,” the “chatter of,” or “subject to the

jurisdiction of’ any “monarch” or any corporate “commonwealth,” “federal,” “state,”

“territory,” “country,” “council,” “city,” “municipal body politic,” or other “government”
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“|

allegedly “created” under the “authority” of a “constitution” or other “enactment.
am not subject to any “legislation,” department, or agency created by such

“authorities,” nor to the “jurisdiction” of any employees, officers, or agents deriving
their “authority” therefrom. NO, 1am a living soul, am NOT a 14th Amendment US

Citizens or subservient slave thereof.

Nor do any of the “statues” or “regulations” of such “authorities” apply to me or have

any “jurisdiction” over me. | do not consent.

Further, | am not subject of any “courts” or bound by “precedents” of any “courts,”

deriving their “jurisdiction” from such man-made and perceived “authorities.”

Take notice that | hereby cancel and make void from the beginning any such
“instrument” or any presumed “election” made by any “government” or any agency or
department thereof, that | am or ever have voluntarily elected to be treated as a
subject of any “monarch” or as a citizen” or a “resident” of any “commonwealth,”
“state,” “territory,” “possession,” “instrumentality,” “enclave,” “division,” “district,” or

“province,” subject to their “jurisdiction(s).

10. Constitution”: The document supposedly setting forth the foundations of a “country”
and “its” “government,” has no inherent authority or obligation. A “constitution” has
no authority or obligation at all when concerning people, unless as a contract between
two or more individual formed Nation States, and then it is limited only to those states

who have specifically entered into it. At most, such a document could be a contract
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between the existing people at the time of its creation, but no-one has the right,
authority or power to bind their posterity. | have not knowingly , voluntarily and
intentionally entered into any such “constitution” contract to oblige myself thereby ,
therefore such a document is inapplicable to me, and anyone claiming to derive their
“authority” from such a document has no “jurisdiction” over me. Especially since the
original and organic constitution of 1787 itself was subverted by look alike sound alike

fraud in 1868 by the corporate UNITED STATES space of AMERICA.

11. : Use of semantics: There are some people with mental imbalances, such as the craving
to dominate other people, who masquerade as “government,” and “Authority” that call the
noises and scribbles that emanate from their mouths and pens “the law” which “must be
obeyed.” Just because they alter definition of words in their “law” books to their supposed

advantages, doesn't mean that | accept those definitions. The fact that the define the

wt. at a” yt

words “person,” “address,” “mail,” “resident,” “motor vehicle,” “driving,” “passenger,”
“employee, “income,” “Zip Code” and many others, in ways vastly different from the
comma usage, So as to be associated with the subject or slave status, meaning nothing in
real life to, |, a man, a living soul, created by God Because the private for profit “courts”
and it's “court administrators”, have become entangled in the game of semantics, be it
known to all “courts” and all parties, that if, | have ever signed any document or spoken
into words on record, using words defined by twists in any “law” books different from the

common usage, there can be no effect whatsoever on my sovereign status in society

thereby, nor can there be created any “obligation” to perform in any manner, by the mere
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use of such words. Where the definition in the common dictionary differs from the
definition in the law dictionary, it is the definition in the common dictionary that prevails,
because it is more trustworthy, than the actors who pretend to use “Assumption” and

“Presumption” of perceived facts.

Such compelled and supposed “benefits” include, but not limited to, the aforementioned
typical examples. My use of such alleged “benefits” is under duress only, and it is with full
reservation of all my natural inherent rights. | have waived none of my intrinsic rights and
freedoms by my use thereof. Furthermore, my use of such compelled “benefits” may be

temporary, until alternatives become available, practical, and widely recognized.

REVOCATION OF POWER OF ATTORNEY

|, hereby revoke, rescind, cancel, and make void from the beginning, all powers of
attorney, in fact or otherwise, implied in “law” or otherwise, signed either by me or
anyone else, as it pertains to any “tax file /identification number” and/or “social
security number” assigned to me, as it pertains to my “birth certificate,” and “SSI” or as
it pertains to any and all other numbers, “licenses,” “certificates,” and other
“instruments” issued by any and all “government” in and quasi-“ governmental”
departments or agencies, due to the use of various elements of fraud by said agencies

to attempt to deprive me of my sovereignty and/or my private property.

|, hereby wave, cancel, repudiate, and refuse to knowingly accept any alleged “benefit”

or “gratuity” associated with any of the for aforementioned numbers, “license”
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“certificates” and other “instruments.” My use of any such numbers “Licenses,”
“certificates,” or other “instruments” has been for informational purposes only, and
absolutely does not grant any “jurisdiction” to anyone that is not expressly in writing

given freely by me, with full disclosure.

|, do hereby revoke and rescind all powers of attorney being used, in fact or otherwise,
signed by me or otherwise, implied in “law” or otherwise, without my consent or
knowledge, as it pertains to any and all property, real or personal, corporate
incorporeal, obtained in the past, present, or future. | am the sole and absolute owner

and possessor with allodial title to any and all my property.

Take notice; that | also revoke cancel and make void from the beginning all powers of
attorney, in fact, presumption, or otherwise, signed either by me or anyone else,
claiming to act on my behalf, with or without my consent, as such power of attorney
pertains to me or any property owned by me, but not limited to any and all quasi/
colorable, public, “governmental” departments, agencies or corporations or subsidiary
corporations on the grounds of constructive fraud, concealment, and nondisclosure of

pertinent facts constituting Fraud.

This is an Affidavit of Truth and on the record, therefore any rebuttal must be

responded to point by point or shall become fact in 10 Days.

|, affirm that all of the foregoing is true and correct, | affirm that | am confident and of

sound mind, to make this Affidavit. | hereby affix my own Autograph to all of the

 
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affirmations in this entire document with explicit reservation of all my unalienable
rights and my specific rights not to be bound by any “contract” or “obligation” which |
have not entered into knowingly, voluntarily, intentionally, and without
misrepresentation, duress, or coercion, or through fraud and/or misrepresentation of

others.

|, have previously already notified through another/and additional correspondence

To: Joe Biden As: The PRESIDENT OF THE UNITED STATES 1600 Pennsylvania Ave
Washington District of Columbia;
To: Rex Tillerson As: the SECRETARY OF STATE OF THE UNITED STATES 2201 C Street

NW Washington District of Columbia 20520;

To Jeff Sessions As: The ATTORNEY GENERAL OF THE UNITED STATES c/o U.S.
Department of justice 950 Pennsylvania Ave Commerce NW Washington, District of
Columbia 2053-0001

To: Mark Herring As: The ATTORNEY GENERAL OF THE STATE OF VIRGINIA office of the
Attorney General Justice Building third floor 215 N sanderling, PO box 2014 one
Richmond VA 23219
Notice to Agent is Notice to Principle, Notice to Principle is Notice to Agent.

|, say here and we'll verify and open common law court that all herein be true . By

special appearance and as a courtesy only.

The use of a notary below is for the explicit purpose of a “Jurat Certificate” and for
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“identification only”, and such use does not grant any “jurisdiction” to anyone other

than I, for or on my own behalf. meaning of jurisdiction juris = law diction = words

FURTHER AFFIANT SAITH NOT.

Subscribe and sworn, without prejudice, and without recourse

. (Printed Name) _Vexaow MW. Creyou/ &rt.

Principle, by Special Appearance , proceeding Sui juris . UCC 1-308

yt
Autograph by hon Z, hugeye A on this, the /7_ day of
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“Notary Public”, as “ Jurat Certificate”

&
On this_/4Y "day of May ,20_2/ _, before me, the undersigned,
a Notary Public, in and for, Hampton City, Virginia State, personally appeared the
above-signed, known to me to be the one whose name is signed on this instrument,

and has acknowledged to me that he/she personally has executed the same.

Signed: Laren Sr. bugged

Printed Name: Veewon Mm. Cnwponf SZ (Seal)

 

Date: sly 21 VERNON M. GREGORY SR

NOTARY PUBLIC
REGISTRATION # 7879346

address: U/p Caley st Hamat’ va Riga gciagexrgee

 
   
   

 
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Jurat Certificate

State of _\V/i ean) iA

County/City of Hamp Lap

Subscribed and sworn to (or affirmed) before me on this [4¥ the

Day of Mn ,20_2/_,by

 

Notary Signature kh. Sn. Lage A

VERNON M. GREGORY SR
NOTARY PUBLIC
REGISTRATION # 7879346
COMMONWEALTH OF VIRGINIA

MY COMMISSION Oa
ne

 

Place Seal Here

   
 
 

 

 

Description of Attached Document

 

 

Type or Title of Document
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c/o 804 Grimes Road

Hampton, Virginia
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 19 of 31

Sui Juris
UNITED STATE DISTRICT COURT
FOR THE EASTERN DICTRICT OF VIRGINIA
NEWPORT NEWS DIVISION
UNITED STATE S OF AMERICA § CASE #: 4:20-CR-0001
Plaintiff, § NOTICE (2°)
Vs § TERMINATION OF SERVICES
CARL LINWOOD BURDEN §
Defendant §

|, karl-burden: El-bey a living Soul, a man, Sui Juris; non-agent, non-representative of the
false fictional entity known as CARL LINWOOD BURDEN d/b/a CARL BURDEN, created
fraudulently by the courts and those are perceived authority in this De Facto Government
Without my Consent, as a courtesy and by “special Appearance” only without any waiver of
rights, do hereby NOTICE, again, the Court that services provided by Laura P. Tayman, Esq. to
defend CARL LINWOOD BURDEN, d/b/a CARL BURDEN, a legal entity are no longer required, as
stated desired, or needed. She is hereby again, TERMINATED (second time) from all further
services since October 13" 2020 as stated and all action or services are/were not unauthorized

and void.

1United States Constitution, Art, VI, cls, 2; “This Constitution, and the laws of the United States
which shall be made in the Pursuance thereof; and all Treaties made, Or which shall be made,
under the Authority of the United States,
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|, karl- burden : of the El Bey family, one from among We the People, the Trustee for
the record, have rights, secured by the Constitution for the United States of America,
Amendment XIll, not to be compelled, into Involuntary Servitude nor Slavery. Involuntary
Association is Involuntary Servitude. Any compelled, involuntary association with Laura
Tayman, Esquire by this court with , |, karl- burden el-Bey shall be deemed violative of the
Supreme law of the land.
Trustee does not consent to contract.

An attorney once fired is fired.

This NOTICE shall in NO way be construed as a motion, nor a request for permission.

The matter is his hereby adjourned.

Subscribed and sworn, without prejudice, and without recourse, All rights reserved.
(Print it name) Karl Bus vd eu -/tl L227.
Principal, by Special Appearance, proceeding SUIJURIS. UCC 1-308

Without Prejudice

Gil Hide Al -Zoeg Dated this day May _1¢tt 20 2)

Autographed by: karl-burden: of the El Bey family

 

Notice to Agent is Notice to Principle, Notice to Principle is Notice to Agent

Shall be the supreme Law of the Land; and the Judges in every state shall be bound thereby,

any Thing in the Constitution or Laws of any State to the contrary not withstanding.”
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 21 of 31

“Notary Public” as “Jurat Certificate”

Virginia State

Hampton City

SIGNED AND SWORN BEFORE ME on May,_/4 Hh 20 _2/_ by karl- burden : of the el-b family

hh haga A Public Notary in and

for the state of Virginia

 

 

 

\Vlexwon_ m. Cassgonol SA. printed name

Seal

 

VERNON M. GREG
NOTARY PUBLIC sr
REGISTRATICN 4 7879346
COMMONWEALFH OF VIRGINIA
MY COMMISSION EXPIRES

ee CERENA

 

 

My commission ends on _Jene- 32. 202
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CERTIFICATION OF SERVICE

| karl-burden: el bey certifies that on
O sf20 / Zz, _,acopy of the following

document(s) was {served/Mailed} filed as follows:

1. Leper % the Cheri — Accoppel for Howitt on belle veheus
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4, Notec of Zaterest rommerwel Agdul Caccy-Peiel Mee
Common eatth ot Drraate Qyphierte pe hue Borph

 

Via by: certified U.S. mail, return receipt requested

# "2et 1GY0 ©0900 S037 SYSZ_

Without Prejudice

WA £¢4n.LLLBLA.

by: karl-burden: el bey -Sui Juris
Jurisdiction of the Court: Commerce

 
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8435391 COMMONWEALTH OF VIRGINIA

Wl ‘i ry |
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CERTIFICATE OF LIVE BIRTH va yth

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STATEFILENUMBER: 4145-55-06

NAME OF REGISTRANT: °° KARLBURDEN-ELBEY _

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i ull

»DATEOF BIRTH: Ce TEMBER 30, 1966, !|!//SEX: MALE

 

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PLACE OF BIRTH:

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AGE OF MOTHER: ik
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FATHER'S PLACE OF BIRTH: y NORTH CAROLINA

DATERECORD FILED:

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This Is to cently: that this is a true and correct reproduction or abstract of;the official record filed with the Virginia Department

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I li May 19, 2021 mM

DATE ISSUED 6 aiming
Janet M, Rainey, State Registra

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Section 32.1-272, Code of Virgiriia, as

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UNITED STATE DISTRICT COURT
FOR THE EASTERN DICTRICT OF VIRGINIA
NEWPORT NEWS DIVISION

UNITED STATE S OF AMERICA § CASE #: 4:20-CR-0001

Plaintiff,

CARL LINWOOD BURDEN

1)

2)

3)

4)

5)

Defendant

AFFIDAVIT NOT PRO-SE

|, karl-burden: El bey a living Soul, Sui Juris, Trustee on record for the express trust, as a
courtesy and “special Appearance” only without any waiver of rights, having only just
recently learned of the fraud committed by the courts and those of perceived authority in
this De Facto Government who having created a false fictional entity known as CARL
LINWOOD BURDEN Without my Consent.

|, karl-burden: El bey, Trustee, have previously dismissed Laura P. Tayman as Attorney acting
in behalf of the false fictional entity CARL LINWOOD BURDEN, retain all right, including the
right to settle all debts and claims, to the assistance of Counsel guaranteed by the
Amendment VI to the Constitution for the united States of America to we the People of the
united States of America and the several states.

1, do hereby declare as a living Soul and Trustee that | am Sui Juris and demand that Pro Se
not be applied to the record, Matt responding pro say, no pro anything Comer and never
want to be or should be considered a part of that traders group calling themselves
attorneys, nor is private foreign labor union the American Bar Association.

Please see attached notice declercq | heard my mandate you to record this
correspondence and demand that it be made available on pacer ! need above reference
case number, so it may be found in the records corrected

notice to agent is notice to principle, notice the principle is notice to agent

the use of notary below is plus the explicit purpose of a jurat certificate and identification as
such use does not grant any jurisdiction to anyone other than I, four or on my own behalf.

Definition meaning of jurisdiction geris equal law, diction equal words
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Definition / meaning of LAW: = Land, Air, Water, as set up by the three testamentary trusts.
FURTHER AFFIANT SAITH NOT.
Subscribed and sworn (Affirm), without prejudice, and without recourse.

(Printed Name); Karl ayhen. la Bea

 

Principal, by Special Appearance, Proceeding Sui Juris UCC 1-308
Prequdice

Autographed by: ee LDA ZZ om this, the MAA day of

May 2021

“Notary Public”, as “Jurat Certificate
Hampton City

Virginia State

tA
SUBSCRIBED AND SWORN (AFFRIM) TO BEFORE ME on May 1¢ , 2021 at Hampton, Virginia

ow Si. AMasgetmy 4, Public Notary in and for the Virginia State

 

mon . ae) Printed Name
My commission endson__ Jen, 3, 20 2
Seal

 

VERNON M. GREGORY SR
NOTARY PUBLIC
REGISTRATION #4 7879346
COMMONWEALTH OF VIRGINIA
MY COMMISSION EXPIRES

 

 
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Notice to Clerk and all Judicial Officers -
The minute you receive any document, it is recorded according to the following case site.

Biffle v. Morton Rubber Indus., Inc., 785 S.W.2d 143, 144 (Tex. 1990).”An instrument is deemed in law
filed at the time it is delivered to the clerk, regardless of whether the instrument is “file-marked.”

Should you refuse to record any of My documents, once deposited with you, you are
committing a crime under Title 18 USC § 2071 by fines and imprisonment if your attorney told you do
not file any documents like mine you are still responsible, as | do not accept any third party interveners.
attorney District Attorney or anyone from the lowering craft all third parties and do not have a license to
make a legal determination in this matter as they do not represent me my property and you the district
clerk and do not have authority to represent me.

Title 18 USC - Crimes and Criminal Procedure

Part 1 Crimes

Chapter 101- Records and Reports

Section 2 071 Concealment, removal, mutilation generally

(a) Whoever willfully and unlawfully conceals, remove, mutilate, obliterates, or destroys, or
attempt to do so, or, with intent to do so takes and carries away any record, proceeding,
map, book, paper, document, other thing, filed or deposited with any clerk or officer of any
court of the United States, or any public office, or with any Judicial or public officer of the
United States, shall be fine under this title or imprisoned not more than three years, or
both.

(b) Whoever, having the custody of any such a record, proceeding, map, book, document,
paper, or other thing, willfully and unlawfully conceals, remove, mutilates, obliterates,
falsifies, or destroys the same, shall be fined under this title or imprisoned not more than
three years, or both; and shall forfeit his office and be disqualified from holding any office
under the United States. As used in this subsection, the term “office” does not include the
office held by any person as a retired officer of the armed forces of the United States.

Revised Statues of the United States, 1st session, 43 Congress 1873- 1874.

Title LXX.-——- CRIMES.--- CH. 4.. CRIMES AGAINST JUSTICE

SEC. 5403. (Destroying, &c. public records.)

Every person who willfully destroys or attempt to destroy, or, with intent to steal or destroy,
takes and carry away any record, paper, or proceedings of a court of justice, filed or deposited with any
clerk or officer of such court, or any paper, or document, or record filed or deposited in any public
office, or with any judicial or public officer, shall, without reference to the value of the record, paper,
document, or proceeding so taken, pay a fine of not more than two thousand dollars, or suffer
imprisonment, at hard labor, not more than three years, or both: {See § § 5408, 5411, 5412.1)

SEC. 5407. (Conspiracy to defeat enforcement of the laws.)

if two or more persons in any State or Territory conspire for the purpose of impeding,
hindering, obstructing, or defeating, in any manner, the due course of justice in any State or Territory,
with the intent to deny to any citizen the equal protection of the laws, or to injure him or his property
for lawful enforcing, or attempting to enforce, the right of any person, or class of persons, to the equal
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protection of the laws, each of such persons shall be punished by a fine of not less than five hundred no
more than five thousand dollars, or by imprisonment, with or without hard labor, not less than six
months no more than six years, or by both such fine and imprisonment. See §§ 1977- 1991, 2004- 2010,
5506- 5510.1

SEC. 5408. (destroying record by officer in charge.)

Every officer, having the custody of any record, document, paper, or proceedings specified in
section fifty-four hundred and three, who fraudulently takes away, or withdrawals, or destroy any such
record, document, paper, or proceedings filed in his office or deposited with him or in his custody, shall
pay a fine of not more than two thousand dollars, or suffer imprisonment at hard labor not more than
three years, or both-, and shall, moreover, forfeit his office and be forever afterward disqualified from
holding any office under the Government of the United States

Legatus Non Violatur,
Without Prejudice,
Non Assumpisit,

All Rights Reserved
fe

Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 27 of 31

To: The Public, file on the Public Record

Jurisdiction of the Court: Commerce
27 9CFR) Code of Federal Regulation 27.11
All “crimes” are Commercial

Notice of Interest
And

Commercial Affidavit
By: karl-el bey: family of Burden

Regarding case number 40:20-cr-00017

Whereas, the public record is the highest form of evidence, | am hereby timely creating for the public record by
this Verified Declaration, Affidavit, within the Virginia/ Nevada Union State that an Expressed Trust had Arisen;
and,

Judge the US Marshall is in possession of and Custody of the person being Charged, And valuable Consideration
has been Tendered.

Did you Notice and Acknowledge the Trust?; and,
Did you Notice the Expression of the Trust and the Validity of the Equitable E-state?; and,

Do you Disclaim a Trust has arisen?; and

Your silence is evidence and stands as consent, and tacit approval to all claims, for the declarations of facts and
conclusions here being established as fact, as a law matter and this declaration, affidavit, absent written rebuttal
within forty-eight (48) hours, will stand judgement in this matter; and,

Failure to rebut in a sworn affidavit form within seven days, item by item, shall establish you are in full agreement
with the claims herein or has been presented and are thusly lawfully estopped pursuant to: [Carmine v. Bowen, 64
A.932, 1906], “silence activates estoppel”: and,

The right to amend this document is reserved by author, who is the only party authorized to assert the right to
make amendments to this document as necessary, and in order that the truth may be ascertained and these
proceedings are justly determined : and,

Should a man or woman possesses information that will controvert and overcome this Declaration which
specificity , please advise in writing by Verified Declaration in form of affidavit, point by point, under penalty of
perjury, within seven days from the filing of this document; and thereby, provide me with your timely rebuttal
proving with particularity by stating all requisite actual evidentiary fact and all requisite actual law, and at no time
in reliance or mere perceptive facts the personal conclusions, that this affidavit is substantially and materially false
sufficiently for changing materially my declaration; and
Case 3:40-CR-G0017 Document 976 Filed 05/14/21 Page 28 of 31

Affiant, competent by stating the matters set forth herein, does herewith solemnly swear/affirm on my own
commercial liability the testimony that | give in this Notice of Interest and Affidavit will be to the best of my
knowledge and belief, true, correct, complete, not misleading, the truth, whole true and nothing but the truth.

1.

10.

11,

By this notice of Interest and Affidavit | am claiming my right as Trustee to an automatic three weeks
stay of anything, so that | may exhaust all commercial remedies regarding this issue, and,

This Court alleges to have the jurisdiction or authority to imprison or otherwise detain me (State
citizen) based on the allegations existence of the (Comprehensive crime Control Act of 1984 and its
alleged amendments) Sentence Reform Act; however, | am without evidence that the Comprehensive
Crime Control Act/Sentencing Reform Act exist and demand that a certified copy, meeting all
requirements of an “Act of Congress”, be provided forthwith ( definition: immediately and without
delay); and,

Title 18 USC 4001 (a) states, “No citizen shall be imprisoned or otherwise detained by the United
states except pursuant to an act of Congress .”; and,

Title 1 USC 101 states, “The enacting clause of all Acts of Congress Shall be in the following form: “ Be
it enacted by the Senate and House of Representatives of the United States of America in Congress
assembled."; and ,

Title 18 USC is a code and is not an Act of Congress; and,
HJRA -98-473, Public Law is not an Act of Congress; and,

This Court alleges to have jurisdiction or authority over man; however, | am without evidence that
this is so; therefore, it is not so; and,

This Court alleges that | am legal “person”; however, | am without evidence that it is so; therefore, it
is not so; and,

This Court alleges that a State citizen and or Trustee is “subject to” codes and statues; however, | am
unaware that only the Military Jurisdiction uses statues, see Lieber Code Article 13. | am not subject
to Military Jurisdiction. | am without evidence to the contrary; therefore, itis not so; and,

A non- rebutted claim stands as sovereign truth in commerce; and ,

Upon the expiration of the allotted seven (7) days to rebut, If un-rebutted this Notice of interest and
Affidavit automatically converts to a Notice of Distress infinite until a rebuttal to ail Affidavits in this
matter is received with evidence attached and sworn to; , and,

Affiant, competent by stating the matters set forth herein, does herewith seldomly swear/affirm on my own
commercial liability that the testimony that | gave in this Notice of Interest and Affidavit and any others is to the
best of my knowledge and belief true correct complete not misleading the truth whole truth and nothing but the

truth
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 29 of 31

13. “For a crime to exist, there must be an injured party. There can be no sanction or penalty imposed
upon one because of this exercise of Constitutional right.- Sherar v. Cullen, 481 F. 945

14. Anon- rebutted claim stands as sovereign truth in commerce; and ,

15. Upon the expiration of the allotted seven (7) days to rebut, If un-rebutted this Notice of Interest and
Affidavit automatically converts to a Notice of Distress Infinite until a rebuttal to all Affidavits in this
matter is received with evidence attached and sworn to; , and,

Further Notice; Title 18 U.S. Code §1545. Safe conduct violation applies

Affiant, competent by stating the matters set forth herein, does herewith seldomly swear/affirm on my own
commercial liability that the testimony that | gave in this Notice of Interest and Affidavit and any others is to the
best of my knowledge and belief true correct complete not misleading the truth whole truth and nothing but the
truth

dated this 14th day of May 2021

Honorably,

Without Prejudjce
By: Jf
hel pl Lb

Karl: family of Burden-el bey

“Notary Public”, as “Jurat Certificate”

4h
Onthis_ /4 dayof_A#Y 20 2/_, before me, the undersigned, a Notary Public, in
and for, Hampton City, Virginia Union State, personally appeared the above-signed, known to
me to be the one whose name is signed on this instrument, and has acknowledged to me the
s/he personally has executed the same’

Autograph: x. Lor. hrageooe— he Seal

 

 

 

 

 

 

. v

Printed Name: - Coe , -

Date: py if aoa Fi ERIN ON Mi VSHEGORY SR

Address: _ 4/2? Ce/ey Sf. Larephid VA COMMONWEACINICE VIRGINIA
7 MY COMMISSION nen
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 30 of 31

CERTIFICATE OF SERVICE

Notice: notice to the agent is notice to the principle; notice to the principle is notice to the agent;

I onal certify that on the Zaotlday of Meg ,20 Z/ , | served
heya Dow er fs , upon

Levocnth Calin Ae AS Distr? chide

Ri Fe Marfa lye

 

 

 

 

 

by the following method or methods as indicated”

() by mailing to said person(s) a true copy thereof, said copy placed in a sealed envelope, postage
prepaid and addressed to said person(s) at the last known address for said person(s) as shown above,
and deposited in the Post Office at Hampton, Virginia Union State, on the date set forth above.

By mailing via certified mail, return receipt requested, to said person(s) a true copy thereof, said
copy placed in a sealed envelope, postage prepaid and addressed to said person(s) at the last known

ape b. for said person(s) as shown above, and deposited in the Post Office at
j(Dlee- Mcreury] bl Ny, Lh Mgthe ! DA on the date set forth above.

Airy ZO HA ( / /202/

 
Case 3:40-CR-00017 Document 976 Filed 05/14/21

Page 31 of 31

 

 

 

 

Jurat Certificate

State of

Viegin 14
City of

Hampprrl
Subscribed and swon to (affirmed) before me this

ty
Day of Wie ,20_2l by
Al o ' Tog rn. S

Notary Signature
Laon Ces Asap he

 

Place Seal Here

 

Description of Attached Document

Type or Title of Document

Document Date

Signer((s) Other Than Named Above

MY SPMMISSION ev

VERNON M. GREG
NOTARY puBLiC’ sR
REGISTRATION # 7879346
COMMONWEALTH OF VIRGINIA

 

Number of Pages

 
CEASE AND DESIST

Nemo me impune lacessit.

 

PRIVATE From: Lord Karl — Burden: EL Bey
THIS IS NOT A PUBLIC Always retaining all rights.
COMMUNICATION Care of postal service address:
Notice to agent is Notice to principle c/o 804 Grimes Road
Notice to principle is Notice to Agent Hampton, Virginia union state
Applications to all successors and assigns | USA without USDC

Zip exempt, but near 23669

 

TO:

 

To: Hon. John G. Roberts, Chief Justice To: David J. Novak
Supreme Court of the United States of America Attn: To all it may concern

 

 

 

 

One First Street, NE C/o 2400 West Avenue
Washington, DC. 20543 Newport News, Virginia 20607
Attachments:

1) Birth certificate.
It is a fact that: I am a natural born State Citizen of State you were born in here, in its
constitutional capacity, as one of the several states of the Union. And I am an inhabitant thereof.
It is a fact that: That my birth certificate is proof that I am a State Citizens. See attached birth
certificate.
It is a fact that: That I am not a United States citizen, resident, person, individual or any other
legal fiction, nor have I ever been.
It is a fact that: I explicitly reserve all of my rights always and forevermore.
It is a fact that: That the United States, with intent and great deception, uses, term “United
States citizen”, to deprive the people of their rights, their birth rights, their property and freedom.
And further, to relegate their status, to that of livestock.(See U.S. v. Anthony, 24 Fed. Cas. 829,
830)
It is a fact that: you failed to protect my Constitutional Rights and property, (see Corpus Juris
Secundum, Volume 7, Section 4.)

I owe you nothing nor do you have any jurisdiction over me. Your constant unceasing e-mails
from you and your satellite departments that harass, threatens, attempts at coercion, scare tactics,
stalking and all other actions are depriving me of our right to tranquility guaranteed by the
preamble of, and the rest of the constitution for the United States of America. You are violating
the RICO laws, stocking laws, mail fraud laws, depriving rights under color of law as well as the
common law and the constitution. Your actions are also acts of treason and tyranny.

I ORDER YOU TO CEASE AND DESIST ALL ACTIVITIES AGAINST ME!

Lord Karl — Burden; EL Bey
sixteenth day of May 16th in the year of our Lord 2021

WITHOUT PREJUDICE

By: "Wak Lota > EL LF
EMD SZ Yarmohi awed horny
PE] Jarry /) 0g ¥
ee CALE /7Y juny

plhrartx, Ag bey Yi hop bran]
pro ID howe %
hay FAI ~ 2 9M fAN f240F

 
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 2 of 31

(formerly 12 USC 95 (A) (2)
Pay to the order of the UNITED STATES

. _ TREASURY
Ceo > PY

Without Recourse

Instructions and Orders:

Accepted for value, Exempt from Levy

H.J. Res. 192, 73™ Cong., 1% Sess. Approved June 5, 1933, 4:30 p.m.
Executive Order 6102
Notice of Mandate Authority by Claim of Right

Without Prejudice

Autograph / DATE: 05/__/2021 ____ day, of
2021

Exemption ID# CARL LINWOOD BURDEN / 228800736 SS#

Deposit to the U.S. Treasury DBA The Internal Revenue Service

Charge the same to CARL LINWOOD BURDEN 228800736 CUSIP branch with the remittance.
C3990821

Case # 4:24-CR-00017

| have accepted this on behalf of the United States. Here is the clear concise an unequivocal
mandate transfer order Comer you may collect that

Department of the Treasure
1500 Pennsylvania Ave Comer .in . W ,Washington DC 22 220

My obligation to the court is done as per 50 USC 4305 b(2) “formerly 12 USC’ 95 (a)”

As we the people are the highest authority in the land we have the authority to create a
mandate.

Warning: If notice is not answered or mandate is not performed, silence confirms claim,
otherwise, liability has been imposed in the public without remedy .
Respond or perform mandate but then (15) Fifteen, days of receiving this notice.

Respectfully Submitted, Without prejudice, Without recourse, All rights reserved

Lord karl burden :el bey.
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 19 of 31

Sui Juris
UNITED STATE DISTRICT COURT
Om FOR THE EASTERN DICTRICT OF VIRGINIA
o> >» NEWPORT NEWS DIVISION
UNITED STATE S OF AMERICA § CASE #: 4:20-CR-0001
Plaintiff, § NOTICE (2"4)
Vs § TERMINATION OF SERVICES
CARL LINWOOD BURDEN §
Defendant §

|, karl-burden: El-bey a living Soul, a man, Sui Juris; non-agent, non-representative of the
false fictional entity known as CARL LINWOOD BURDEN d/b/a CARL BURDEN, created
fraudulently by the courts and those are perceived authority in this De Facto Government
Without my Consent, as a courtesy and by “special Appearance” only without any waiver of
rights, do hereby NOTICE, again, the Court that services provided by Laura P. Tayman, Esq. to
defend CARL LINWOOD BURDEN, d/b/a CARL BURDEN, a legal entity are no longer required, as
stated desired, or needed. She is hereby again, TERMINATED (second time) from all further
services since October 13" 2020 as stated and all action or services are/were not unauthorized

and void.

1United States Constitution, Art, Vi, cls, 2; “This Constitution, and the laws of the United States
which shall be made in the Pursuance thereof; and all Treaties made, Or which shall be made,
under the Authority of the United States,
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 23 of 31

UNITED STATE DISTRICT COURT

CjCO (°f —_— FOR THE EASTERN DICTRICT OF VIRGINIA

NEWPORT NEWS DIVISION
UNITED STATE S OF AMERICA § CASE #: 4:20-CR-0001
Plaintiff,
CARL LINWOOD BURDEN
Defendant
AFFIDAVIT NOT PRO-SE

1)

2)

3)

4)

5)

 

|, karl-burden: El bey a living Soul, Sui Juris, Trustee on record for the express trust, as a
courtesy and “special Appearance” only without any waiver of rights, having only just
recently learned of the fraud committed by the courts and those of perceived authority in
this De Facto Government who having created a false fictional entity known as CARL
LINWOOD BURDEN Without my Consent.

|, kari-burden: El bey, Trustee, have previously dismissed Laura P. Tayman as Attorney acting
in behalf of the false fictional entity CARL LINWOOD BURDEN, retain all right, including the
right to settle all debts and claims, to the assistance of Counsel guaranteed by the
Amendment VI to the Constitution for the united States of America to we the People of the
united States of America and the several states.

1, do hereby declare as a living Soul and Trustee that | am Sui Juris and demand that Pro Se
not be applied to the record, | am not representing Pro Se, nor Pro anything, and never want
to be or should be considered a part of that traitors’ group calling themselves attorney’s,

nor its Private Foreign labor union the American Bar Association.

Please SEE ATTACHED “Notice to Clerk” | hereby mandate you to record this
correspondence and Demand that it be made available on PACER, under the above
reference case number, so it may be found and the records corrected

Notice to Agent is Notice to Principle, Notice to Principle is Notice to Agent

The use of notary below is for the explicit purpose of a “Jurat Certificate” and
“Identification” and such use does not grant any “jurisdiction” to anyone other than |, for or
on my own behalf.

Definition / meaning of “jurisdiction: juris = law, diction = words.

Definition / meaning of LAW: = Land, Air, Water, as set up by the three testamentary trusts.
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 25 of 31

The minute you receive any document, it is recorded according to the following case site.

Biffle v. Morton Rubber Indus., Inc., 785 $.W.2d 143, 144 (Tex. 1990).”An instrument is deemed in law
filed at the time it is delivered to the clerk, regardless of whether the instrument is “file-marked.”

Should you refuse to record any of My documents, once deposited with you, you are
committing a crime under Title 18 USC § 2071 by fines and imprisonment if your attorney told you do
not file any documents like mine you are still responsible, as | do not accept any third party interveners.
attorney District Attorney or anyone from the lowering craft all third parties and do not have a license to
make a legal determination in this matter as they do not represent me my property and you the district
clerk and do not have authority to represent me.

Title 18 USC - Crimes and Criminal Procedure (ale. ©) => YW

Part 1 Crimes

Chapter 101- Records and Reports

Section 2 071 Concealment, removal, mutilation generally

(a) Whoever willfully and unlawfully conceals, remove, mutilate, obliterates, or destroys, or
attempt to do so, or, with intent to do so takes and carries away any record, proceeding,
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court of the United States, or any public office, or with any Judicial or public officer of the
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Title LXX.—- CRIMES.-—- CH. 4.. CRIMES AGAINST JUSTICE

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document, or proceeding so taken, pay a fine of not more than two thousand dollars, or suffer
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If two or more persons in any State or Territory conspire for the purpose of impeding,
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with the intent to deny to any citizen the equal protection of the laws, or to injure him or his property
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more than five thousand dollars, or by imprisonment, with or without hard labor, not less than six
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 27 of 31

To: The Public, file on the Public Record

Jurisdiction of the Court: Commerce
27 SCFR) Code of Federal Regulation 27.11
All “crimes” are Commercial

Ceo
P ¥ Notice of Interest
And

Commercial Affidavit
By: karl-el bey: family of Burden

Regarding case number 40:20-cr-00017

Whereas, the public record is the highest form of evidence, | am hereby timely creating for the public record by
this Verified Declaration, Affidavit, within the Virginia/ Nevada Union State that an Expressed Trust had Arisen;
and,

Judge the US Marshall is in possession of and Custody of the person being Charged, And valuable Consideration
has been Tendered.

Did you Notice and Acknowledge the Trust?; and,
Did you Notice the Expression of the Trust and the Validity of the Equitable E-state?; and,

Do you Disclaim a Trust has arisen?; and

Your silence is evidence and stands as consent, and tacit approval to all claims, for the declarations of facts and
conclusions here being established as fact, as a law matter and this declaration, affidavit, absent written rebuttal
within forty-eight (48) hours, will stand judgement in this matter; and,

Failure to rebut in a sworn affidavit form within seven days, item by item, shall establish you are in full agreement
with the claims herein or has been presented and are thusly lawfully estopped pursuant to: [Carmine v. Bowen, 64
A.932, 1906], “silence activates estoppe!”: and,

The right to amend this document is reserved by author, who is the only party authorized to assert the right to
make amendments to this document as necessary, and in order that the truth may be ascertained and these
proceedings are justly determined : and,

Should a man or woman possesses information that will controvert and overcome this Declaration which
specificity , please advise in writing by Verified Declaration in form of affidavit, point by point, under penalty of
perjury, within seven days from the filing of this document; and thereby, provide me with your timely rebuttal
proving with particularity by stating all requisite actual evidentiary fact and all requisite actual law, and at no time
in reliance or mere perceptive facts the personal conclusions, that this affidavit is substantially and materially false
sufficiently for changing materially my declaration; and
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 27 of 31

To: The Public, file on the Public Record

Jurisdiction of the Court: Commerce
27 9CFR) Code of Federal Regulation 27.11
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ccopy

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perjury, within seven days from the filing of this document; and thereby, provide me with your timely rebuttal
proving with particularity by stating all requisite actual evidentiary fact and all requisite actual law, and at no time
in reliance or mere perceptive facts the personal conclusions, that this affidavit is substantially and materially false
sufficiently for changing materially my declaration; and
Date: May 17, 2021

To: Fernando Galindo, Clerk of Court

UNITED STATES DISTRICT COURT
Newport News Division

2400 West Avenue

Newport News, VA 23607

Re: Affidavits and Notices filing

Dear Mr. Galindo,

As Trustee of the expressed trust CARL LINWOOD BURDEN, LLC. ©@°™d/b/a CARL BURDEN Estate

trust, The Trustee files the following Notices, Affidavits, and Motions:

NOuwPwn

ACCEPTED FOR HONOR ON BEHALF OF THE UNITED STATES

NOTICE TO ALL AFFIDAVIT OF TRUTH AND REPUDIATION

28 NOTICE TERMINATION OF SERVICES

AFFIDAVIT NOT PRO — SE

NOTICE TO CLERK AND ALL JUDICIAL OFFICERS

NOTICE OF INTEREST AND COMMERICAL AFFIDAVIT

CEASE AND DESIST NOTICE

Please stamp, file and place them upon the public records . | have enclosed extra copies of each
document above and ask that you stamp them “filed” and return to me for my records.

TAKE NOTICE THAT, You did receive a prior Notice to Clerk of the filing of document received
and the penalties thereof. If you once again refuse to file my documents this would be a second
violation charge that | can file for such.

$

Thank you for your assistance in this matter, should you have any questions or need
anything further, please let me know.

Sincerely
Without Prejudice UCC 1-308

oy LALAM ELL, om

Karl — Burden: EL Bey, Beneficiary, 1% lien holder, and Trustee
For the Expressed trust CARL LINWOOD BURDEN, LLC. O®™
d/b/a CARL BURDEN@®™
Case 3:40-CR-00017 Dacument 976 Filed 05/14/21 Page 1 of 31

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

Newport News Division
UNITED STATES OF AMERICA CASE NO 4:20-CR-00017
VS

CARL LINWOOD BURDEN, dba artificial entity
Affiant/Defendant

By; lord kar! el bey; family of burden — A Living Soul, as Sui Juris

Date: May 13, 2021

To: Judge David J. Novak
To: Court Executive Officer

The above case is;

ACCEPTED FOR HONOR ON BEHALF OF
THE UNITED STATES

ACCEPTED FOR VALUE AND CONSIDERATION, EXEMPT FROM LEVY,WITH HONOR.
PLEASE DEPOSIT TO ACCOUNT OF UNITED STATES,

50 USC 4305 B (2) “Any payment, conveyance, transfer, assignment, or delivery of property or
interest therein, made to or for the account of the United States, or as otherwise directed,
pursuant to this subdivision or any rule, regulation, instruction, or direction issued hereunder
shall to the extent thereof be a full acquittance and discharge for all purposes of the obligation
of the person making the same; and no person shall be held liable in any court for or in respect
to anything done or omitted in good faith in connection with the administration of, or in
pursuance of and in reliance on, this subdivision, or any rule, regulation, instruction, or
direction issued hereunder.”
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 2 of 31

(formerly 12 USC 95 (A) (2)
Pay to the order of the UNITED STATES
TREASURY

Without Recourse

instructions and Orders:

Accepted for value, Exempt from Levy

H.J. Res. 192, 73 Cong., 1% Sess. Approved June 5, 1933, 4:30 p.m.
Executive Order 6102
Notice of Mandate Authority by Claim of Right

Without Prejudice
Autograph 2-C_. Bale “EL x _jonre.05/ 492001 Ue day, of
LUA 2021

Exemption ID# CARL LINWOOD BURDEN / 228800736 SS#

Deposit to the U.S. Treasury DBA The Internal Revenue Service

Charge the same to CARL LINWOOD BURDEN 228800736 CUSIP branch with the remittance.
C3990821

Case # 4:24-CR-00017

| have accepted this on behalf of the United States. Here is the clear concise an unequivocal
mandate transfer order Comer you may collect that

Department of the Treasure
1500 Pennsylvania Ave Comer .in. W ,Washington DC 22 220

My obligation to the court is done as per 50 USC 4305 b(2) “formerly 12 USC’ 95 (a)”

As we the people are the highest authority in the land we have the authority to create a
mandate.

Warning: If notice is not answered or mandate is not performed, silence confirms claim,
otherwise, liability has been imposed in the public without remedy .
Respond or perform mandate but then (15) Fifteen, days of receiving this notice.

Respectfully Submitted, Without prejudice, Without recourse, All rights reserved

Lord karl burden :el bey.

 

 
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 2 of 31

(formerly 12 USC 95 (A) (2)
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Lord kar! burden :el bey.
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 5 of 31

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF VIRGINIA
NEWPORT NEWS DIVISION

UNITED STATES OF AMERICA CASE NO 4:20-CR-00017

VS

CARL LINWOOD BURDEN, dba artificial entity
Affiant/Defendant

By; lord karl el bey; family of burden — A Living Soul, as Sui Juris

NOTICE TO ALL
AFFIDAVIT OF TRUTH and REPUDIATION

Be it known to all who called themselves “government, “their” courts,“ agents, and other
parties, i.e., debt collectors, that I, a living soul, ...am a free born sovereign individual, without
subjects. |, am neither subject to any entity anywhere, nor is any entity subject to me. |,
neither dominate anyone, nor am |, dominated. |, choose to be left alone to live out my days in

peace on the “Land” and under the jurisdiction of God

|, am not a “person” as defined in “Rules” “Codes” and “statues” when such definition includes

any such “artificial entities.” 1, refuse to be treated as a “federally” or “state” created fictional
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 19 of 31

Sui Juris
UNITED STATE DISTRICT COURT
FOR THE EASTERN DICTRICT OF VIRGINIA
NEWPORT NEWS DIVISION
UNITED STATE S OF AMERICA § CASE #: 4:20-CR-0001
Plaintiff, § NOTICE (2"4)
Vs § TERMINATION OF SERVICES
CARL LINWOOD BURDEN §
Defendant §

|, karl-burden: El-bey a living Soul, a man, Sui Juris; non-agent, non-representative of the
false fictional entity known as CARL LINWOOD BURDEN d/b/a CARL BURDEN, created
fraudulently by the courts and those are perceived authority in this De Facto Government
Without my Consent, as a courtesy and by “special Appearance” only without any waiver of
rights, do hereby NOTICE, again, the Court that services provided by Laura P. Tayman, Esq. to
defend CARL LINWOOD BURDEN, d/b/a CARL BURDEN, a Jegal entity are no longer required, as
stated desired, or needed. She is hereby again, TERMINATED (second time) from all further
services since October 13" 2020 as stated and all action or services are/were not unauthorized

and void.

1United States Constitution, Art, VI, cls, 2; “This Constitution, and the laws of the United States
which shall be made in the Pursuance thereof; and all Treaties made, Or which shall be made,
under the Authority of the United States,
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 23 of 31

UNITED STATE DISTRICT COURT
FOR THE EASTERN DICTRICT OF VIRGINIA

NEWPORT NEWS DIVISION
UNITED STATE S OF AMERICA § CASE #: 4:20-CR-0001
Plaintiff,
CARL LINWOOD BURDEN
Defendant
AFFIDAVIT NOT PRO-SE

1)

2)

3)

4)

5)

 

|, karl-burden: El bey a living Soul, Sui Juris, Trustee on record for the express trust, as a
courtesy and “special Appearance” only without any waiver of rights, having only just
recently learned of the fraud committed by the courts and those of perceived authority in
this De Facto Government who having created a false fictional entity known as CARL
LINWOOD BURDEN Without my Consent.

|, karl-burden: El bey, Trustee, have previously dismissed Laura P. Tayman as Attorney acting
in behalf of the false fictional entity CARL LINWOOD BURDEN, retain all right, including the
right to settle all debts and claims, to the assistance of Counsel guaranteed by the
Amendment VI to the Constitution for the united States of America to we the People of the
united States of America and the several states.

1, do hereby declare as a living Soul and Trustee that ! am Sui Juris and demand that Pro Se
not be applied to the record, | am not representing Pro Se, nor Pro anything, and never want
to be or should be considered a part of that traitors’ group calling themselves attorney’s,

nor its Private Foreign labor union the American Bar Association.

Please SEE ATTACHED “Notice to Clerk” | hereby mandate you to record this
correspondence and Demand that it be made available on PACER, under the above
reference case number, so it may be found and the records corrected

Notice to Agent is Notice to Principle, Notice to Principle is Notice to Agent

The use of notary below is for the explicit purpose of a “Jurat Certificate” and
“tdentification” and such use does not grant any “jurisdiction” to anyone other than |, for or
on my own behalf.

Definition / meaning of “jurisdiction: juris = law, diction = words.

Definition / meaning of LAW: = Land, Air, Water, as set up by the three testamentary trusts.
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 25 of 31

The minute you receive any document, it is recorded according to the following case site.

Biffle v. Morton Rubber indus., Inc., 785 S.W.2d 143, 144 (Tex. 1990).”An instrument is deemed in law
filed at the time it is delivered to the clerk, regardless of whether the instrument is “file-marked.”

Should you refuse to record any of My documents, once deposited with you, you are
committing a crime under Title 18 USC § 2071 by fines and imprisonment if your attorney told you do
not file any documents like mine you are still responsible, as | do not accept any third party interveners.
attorney District Attorney or anyone from the lowering craft all third parties and do not have a license to
make a legal determination in this matter as they do not represent me my property and you the district
clerk and do not have authority to represent me.

Title 18 USC - Crimes and Criminal Procedure

Part 1 Crimes

Chapter 101- Records and Reports

Section 2 071 Concealment, removal, mutilation generally

(a) Whoever willfully and unlawfully conceals, remove, mutilate, obliterates, or destroys, or
attempt to do so, or, with intent to do so takes and carries away any record, proceeding,
map, book, paper, document, other thing, filed or deposited with any clerk or officer of any
court of the United States, or any public office, or with any Judicial or public officer of the
United States, shall be fine under this title or imprisoned not more than three years, or
both.

(b) Whoever, having the custody of any such a record, proceeding, map, book, document,
paper, or other thing, willfully and unlawfully conceals, remove, mutilates, obliterates,
falsifies, or destroys the same, shall be fined under this title or imprisoned not more than
three years, or both; and shall forfeit his office and be disqualified from holding any office
under the United States. As used in this subsection, the term “office” does not include the
office held by any person as a retired officer of the armed forces of the United States.

Revised Statues of the United States, 1st session, 43 Congress 1873- 1874.

Title LXX.--- CRIMES.--- CH. 4.. CRIMES AGAINST JUSTICE

SEC. 5403. (Destroying, &c. public records.)

Every person who willfully destroys or attempt to destroy, or, with intent to steal or destroy,
takes and carry away any record, paper, or proceedings of a court of justice, filed or deposited with any
clerk or officer of such court, or any paper, or document, or record filed or deposited in any public
office, or with any judicial or public officer, shall, without reference to the value of the record, paper,
document, or proceeding so taken, pay a fine of not more than two thousand dollars, or suffer
imprisonment, at hard labor, not more than three years, or both: {See § § 5408, 5411, 5412.1]

SEC. 5407. (Conspiracy to defeat enforcement of the laws.)

If two or more persons in any State or Territory conspire for the purpose of impeding,
hindering, obstructing, or defeating, in any manner, the due course of justice in any State or Territory,
with the intent to deny to any citizen the equal protection of the laws, or to injure him or his property
for lawful enforcing, or attempting to enforce, the right of any person, or class of persons, to the equal
protection of the laws, each of such persons shall be punished by a fine of not less than five hundred no
more than five thousand dollars, or by imprisonment, with or without hard labor, not less than six
Case 3:40-CR-00017 Document 976 Filed 05/14/21 Page 27 of 31

To: The Public, file on the Public Record

Jurisdiction of the Court: Commerce
27 SCFR) Code of Federal Regulation 27.11
All “crimes” are Commercial

Notice of Interest
And

Commercial Affidavit
By: karl-el bey: family of Burden

Regarding case number 40:20-cr-00017

Whereas, the public record is the highest form of evidence, | am hereby timely creating for the public record by
this Verified Declaration, Affidavit, within the Virginia/ Nevada Union State that an Expressed Trust had Arisen;
and,

Judge the US Marshall is in possession of and Custody of the person being Charged, And valuable Consideration
has been Tendered.

Did you Notice and Acknowledge the Trust?; and,
Did you Notice the Expression of the Trust and the Validity of the Equitable E-state?; and,

Do you Disclaim a Trust has arisen?; and

Your silence is evidence and stands as consent, and tacit approval to all claims, for the declarations of facts and
conclusions here being established as fact, as a {aw matter and this declaration, affidavit, absent written rebuttal
within forty-eight (48) hours, will stand judgement in this matter; and,

Failure to rebut in a sworn affidavit form within seven days, item by item, shall establish you are in full agreement
with the claims herein or has been presented and are thusly lawfully estopped pursuant to: [Carmine v. Bowen, 64
A.932, 1906], “silence activates estoppel”: and,

The right to amend this document is reserved by author, who is the only party authorized to assert the right to
make amendments to this document as necessary, and in order that the truth may be ascertained and these
proceedings are justly determined : and ,

Should a man or woman possesses information that will controvert and overcome this Declaration which
specificity , please advise in writing by Verified Declaration in form of affidavit, point by point, under penalty of
perjury, within seven days from the filing of this document; and thereby, provide me with your timely rebuttal
proving with particularity by stating all requisite actual evidentiary fact and all requisite actual law, and at no time
in reliance or mere perceptive facts the personal conclusions, that this affidavit is substantially and materially false
sufficiently for changing materially my declaration; and
Jurisdiction of the Court: Commerce
27 SCFR) Code of Federal Regulation 27.11
All “crimes” are Commercial

Letter to Clerk of the United States District Court at
“
fagH1a Listhict OF i) Aye u—Meryport News Dirsd
Dear Court Clerk:

| have obtained the federal court research of Dr. Eduardo M. Rivera, who receive
a Juris Doctor degree from the University of California at Los Angeles in 1971 and
have been a member of the Bar of California since June 2, 1972. In addition to his
legal education and experience, he has a bachelor’s degree in government.

| want to verify certain facts about the status of the US District Court,

| have been told that | can obtain a copy of the Jury Service and Selection Plan
approved by the appeals court. | have been unable to obtain one from the
website of this court: statements of status of the court and the description of
geographical boundaries of the judicial distinct. | was told that if | could not obtain
these documents off the Internet they might be available from the Office of the
Clerk of the Court.

lam making a request of the following documents because they were not
available from the court’s website:

1. Document identify Articles of Constitution under which this court was
established.

2. Documents describing territory that comprises court's judicial district.
3. Copy of Jury Service and Selection Plan.

He has stated in the opinion letter that he prepared for me that the statue law
that established that court does not refer to Article III of the United States
Constitution and, therefore, the court cannot be ordained and established under
Article III. | must obtain this statement from you, the clerk of the court, as to what
article of the United States Constitution was used to establish the court.
His conclusion, based on a statute law which were provided to me along with his
opinion letter, is in is that the court was created for pursuant to Article | or IV of
the United States Constitution and, therefore, the court is limited to territorial
jurisdiction consisting of lands and improvements over which the government of
the United States has exclusive jurisdiction.

The purpose of his letter is to alert you to the fact that the United States District
Court, of the Eastern District of Virginia Newport News division, has no Article III
judicial power. If you disagree with his conclusion that the United States District
Court Eastern District of Virginia, Newport News division is a territorial court, |
would be happy to send you, upon your request, the underlying material upon
which he bases that conclusion of its analysis. All you have to do is disagree with
Doctor Rivera’s conclusion that the United States District Court Newport News
division is a territorial court and | will send you copies of the statue law upon
which he relied to make his conclusion.

very truly yours,

YL Lee LE AZ

‘Lord Karl - Burden: EL Bey

 
